Case 1:24-mc-91609-LT@éqyvRO COVER SHEET 11/25/24 Pagelof1

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as requived by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SHE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS DEFENDANTS
PW Rentals Ltd.,1251237 Alberta Ltd., 1218172 Alberta .
Lid., Silver Sky Rentals Ltd,, Shilo Wild, and Perry Wild Auction Mobility LLC

. (Bb) County of Residence of First Listed Plaintiff
: (EXCEPT IN US. PLAINTIFF CASES)

J844 (Rey, 10/20)

County of Residence of First Listed Defendant
{IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

NOTE:

{e) Attorneys (Firm Name, Address, and Telephone Number)
Heather Baer, Michele Connolly, Stephen Garvey
Fitch Law Partners LLP, 84 State Street 11th Fir., Boston
MA 62109, 617-542-5542

Allorneys (if Krewn)

IL. BASIS OF JURISDICTION (Place an “X" in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES {Place an "X" in One Box for Plaintiff
. (For Diversity Cases Only) and One Box for Defendant)
C7 1 U.S. Government [x]3 Federal Question PTF DEF PTF DEF
. ~ Plaintiff (U.S. Government Not a Party) Citizen of This State OM 1 L] 1 Incorporated or Principal Place CT] 4 [4
: of Business In This State :
[]2 U.S. Government []4 Diversity Citizen of Another State [2 Cc 2 Incorporated and Principal Place O s (3
Defendant {indicate Citizenship of Parties in Hem Hi) of Business In Another State
Citizen or Subject of a CT] 3 L] 3 Foretgn Nation 7 6 ‘C6
Forsign Country .
ly. NATURE OF SUIT mn 'X" in One Box Only Click here for: Nature of Suit Code Descriptions.
Se CONT! eee ee : 1 ao REBESUE EE NKRUPIC HER STATUTE
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure ppeal 28 USC 158 || 375 False Claims Act
120 Marine 310 Airplane Cl 365 Personal Injury ~ of Property 21 USC 881 jL_| 423 Withdrawal |_| 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability j690 Other 28 USC 157 3729a})
140 Negotiable Instrument Liability [_] 367 Health Care/ |__| 400 State Reapportionment
150 Recovery of Overpayment ] 320 Assault, Libel & Pharmaceutical |_| 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 430 Banks and Banking
[51 Medicare Act |] 330 Federal Employers’ Product Liability {| 830 Patent 430 Commetce
152: Recovery of Defaulted Liability [_] 368 Asbestos Personal [| 835 Patent - Abbreviated 460 Deportation
. Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability C1 840 Trademark Corrupt Organizations
{] 153 Recovery of Overpayment Liability PERSONAL PROPERTY CATON |_| 880 Defend Trade Secrets [_] 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (13 USC 168] or 1692}
[] 160 Stockholders’ Suits | 335 Motor Vehicle H 371 Truth in Lending Act a |] 485 Telephone Consumer
[__] 190 Other Contract Product Liability ["] 380 Other Personal [__]720 Labor/Management EEA i i Protection Act
195 Contract Product Liability 360 Other Personal Properly Damage Retations 861 HIA (1395ff) 490 Cable/Sat TV
|_| 196 Franchise Injury CT 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
362 Personal lnjury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405{2)) Exchange 0
Medical Malpractice Leave Act 864 SSID TitleXVI , 890 Other Statutory Actions

(REAL ER OPEICEY 29. |
|_| 210 Land Condemnation

22.0 Foreclosure
230 Rent Lease & Ejectment
240 Torts to Land
|_| 245 Tort Product Liability
[- ]290 All Other Real Property

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440 Other C.
44 Voting

442 Employment
443 Housing/
Accommodations

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Employment

446 Amer, w/Disabilities
Other

|] 448 Education

|] 445 Amer. w/Disabilities - [7]

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Habeas Corpus:

| | 463 Alien Detainee

516 Motions to Vacate
Sentence

[_] 530 General

535 Death Penalty

., Gther:

-L_| 540 Mandamus & Other
550 Civil Rights

) | 555 Prison Condition

|_| 560 Civil Detainee -

Conditions of

Confinement

| |790 Other Labor Litigation
| 791 Employee Retirement
Income Security Act

462 Naturalization
465 Other lmmigration
Actions

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pplication

865 RSI (405(g))

I ie GEE

870 Taxes (U.S, Plaintiff
or Defendant)

| 871 IRS—Third Party

26 USC 7609

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a 891 Agricultural Acts :
893 Environmental Matters

|_| 895 Freedom of Information

Act
896 Arbitration ©
899 Administrative Procedure
Act/Review or Appeal of
Agency Decision
_] 930 Constitutionslity of
State Statutes

¥. ORIGIN (Pace an “X" in One Box Onty}

ei! Original Ci Removed from 3° Remanded from C4 Reinstated or 5 Transferred from 6 Multidistrict m8 Multidistrict

Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer _ Direct File
Cite the U.S. Civil Statute under which you are filing (Do not elte jurisdictonal statutes nntess diversity):

28 U.S.C 1782

Brief description of cause:
Potition for judicial assistance pursuant to 28 U.S.C. 1782 to Issue a subpoena to Auction Mobility LLC In ald of a forelgn proceeding.

VL CAUSE OF ACTION

VII. REQUESTED IN [] CHECK Ut THIS 18 A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
_ COMPLAINT: UNDER RULE 23, F.R.CyP. JURY DEMAND: — []Yes___ []No
VIIL RELATED CASE(S)
iSee instructions):
IF ANY eimstnactions): ae DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
11/26/2024 s/ Stephen K. Garvay
FOR OFFICE USE ONLY
RECEIPT #f AMOUNT APPLYING IFP JUDGE MAG. JUDGE

